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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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In Re: New York City Policing During Summer                     : ORDER
2020 Demonstrations                                               20 Civ. 8924 (CM) (GWG)
                                                                :
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                                                               :
This filing is related to
                                                               :
ALL CASES:
                                                               :
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GABRIEL W. GORENSTEIN, United States Magistrate Judge

        The issue raised in Docket # 257 will be addressed at the discovery conference scheduled
to take place on Monday, September 20, 2021, at 3:00 p.m.

        As a preliminary matter, the Court finds the defendants response (Docket # 262) is
improperly opaque as to the production process, including issues such as the number of
documents at issue, specifics on the method of review, and the date on which production will be
completed. The defendants shall file a new letter by Friday, September 16, 2021, that gives
detailed information on the status of the ESI collection, review and production.

       SO ORDERED.

Dated: September 14, 2021
       New York, New York
